      Case 1-18-01052-cec             Doc 25       Filed 10/05/18    Entered 10/10/18 07:29:25




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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 In re:
 FMTB BH LLC,
                                                                  ADVERSARY PROCEEDING
                                                       Debtor.    DISCOVERY PLAN AND
 -------------------------------------------------------------x   SCHEDULING ORDER
 FMTB BH LLC,
                                                                  Chapter 11
                                              Plaintiff,
                                                                  Case No. 18-42228-CEC
               against
                                                                  Adv. Pro No. 18-01052 (CEC)
 1988 MORRIS AVENUE LLC, 1974 MORRIS
 AVENUE LLC, 700 BECK STREET LLC, 1143
 FOREST AVENUE LLC, and 1821 TOPPING
 AVENUE LLC,
                                              Defendants.
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       This Adversary Proceeding Discovery Plan and Scheduling Order is adopted, after
consultation with counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

1.        This case is not to be tried to a jury.

2.        Amended pleadings may not be filed and additional parties may not be joined
          except with leave of the Court. Any motion to amend or to join additional parties shall
          be filed by October 15, 2018.
3.        Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed by
          October 1, 2018.

4.        Fact Discovery

          a.      All fact discovery shall be completed by December 14, 2018.


          b.      Initial requests for production of documents shall be served by October 5,
                  2018.
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        c.     Interrogatories, if any, shall be served by October 5, 2018.

        d.     Non-expert depositions shall be completed by December 14, 2018.

        e.     Requests to admit shall be served by December 3, 2018.

        f.     Any of the interim deadlines in paragraphs 4(b) through 5(c) may be extended
               by the written consent of all parties without application to the Court, provided that
               all fact discovery is completed by the date set forth in paragraph 4(a).

5.      Additional provisions agreed upon by the parties are attached hereto and made a part
        hereof.

6.      ALL DISCOVERY SHALL BE COMPLETED BY December 14, 2018.


7.      All motions and applications shall be governed by the Court's Individual Practices,
        including the requirement of a pre-motion conference before a motion for summary
        judgment is filed.

8.      Unless otherwise ordered by the Court, within 30 days after the date for the
        completion of discovery, or, if a dispositive motion has been filed, within 30 days after a
        decision on the motion, the parties shall submit to the Court for its approval a Joint
        Pretrial Order prepared in accordance with the Court's Individual Practices. The parties shall
        also comply with the Court's Individual Practices with respect to the filing of other
        required pretrial documents.

9.      The parties have conferred and their present best estimate of the length of the trial is two
        to three days.

10.     This Civil Case Discovery Plan and Scheduling Order may not be modified or the dates
        herein extended without leave of the Court. (except as provided in paragraphs 4(f) and
        5(d) above).

11.     The next case management conference is scheduled for November 7, 2018 at
        2:30 p.m.




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 Dated: Brooklyn, New York                                               Carla E. Craig
        October 5, 2018                          2               United States Bankruptcy Judge


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